Case 4:25-cv-00150-RGE-WPK   Document 24-6   Filed 06/06/25   Page 1 of 4




                EXHIBIT 5
       Declaration of Nicholas A. Klinefeldt in
Support of Resistance to Plaintiff’s Motion for Remand
 Case 4:25-cv-00150-RGE-WPK                        Document 24-6                Filed 06/06/25              Page 2 of 4


From:            Daniel Suhr
To:              Bob Corn-Revere; Klinefeldt, Nicholas A.
Subject:         Re: Activity in Case 4:24-cv-00449-RGE-WPK Trump et al v. Selzer et al Order on Motion for Extension of Time to
                 File
Date:            Wednesday, April 2, 2025 5:34:55 PM


This Message originated outside your organization.



Ok, excellent. I saw Gannett's opposition to the President's request to remand was filed
yesterday. I imagine they get a reply and then you'll wait on a hearing and order? So
hopefully 45 days should be sufficient for resolution, we'll see. Thanks - DANIEL

From: Bob Corn-Revere <bob.corn-revere@thefire.org>
Sent: Wednesday, April 2, 2025 12:53 PM
To: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Cc: Daniel Suhr <dsuhr@americanrights.org>
Subject: Re: Activity in Case 4:24-cv-00449-RGE-WPK Trump et al v. Selzer et al Order on Motion for
Extension of Time to File

Daniel--

And we will do the same on behalf of Ann Selzer and Selzer & Co.

Bob

On Wed, Apr 2, 2025 at 1:50 PM Klinefeldt, Nicholas A.
<nick.klinefeldt@faegredrinker.com> wrote:
 Daniel,

  We appreciate it and would like to get the extra 45 days. We will get our appearances and
  acceptances of service on file for the Register and Gannett.

  Thank you.

  Nick

  From: Daniel Suhr <dsuhr@americanrights.org>
  Sent: Friday, March 28, 2025 9:06 PM
  To: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>; Bob Corn-Revere
  <bob.corn-revere@thefire.org>
  Subject: Fw: Activity in Case 4:24-cv-00449-RGE-WPK Trump et al v. Selzer et al Order
  on Motion for Extension of Time to File

  This Message originated outside your organization.



  Dear Nick & Bob - As you may recall, the 90-day deadline on service in the Iowa state
  court case runs on April 5. I would suggest that we file the stipulation of service, and
Case 4:25-cv-00150-RGE-WPK           Document 24-6       Filed 06/06/25     Page 3 of 4


then file a joint stipulation to add 30 or 45 days to the 20 provided by Rule 1.303(1) to
answer or move in response so you can see whether the Trump case is remanded and
related/consolidated. Thoughts? Thanks - DANIEL

---------- Forwarded message ---------
From: <cmecf_iasd@iasd.uscourts.gov>
Date: Fri, Mar 28, 2025 at 3:08 PM
Subject: Activity in Case 4:24-cv-00449-RGE-WPK Trump et al v. Selzer et al Order on
Motion for Extension of Time to File
To: <Courtmail@iasd.uscourts.gov>


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                                    U.S. District Court
                                Southern District of Iowa
Notice of Electronic Filing

The following transaction was entered on 3/28/2025 at 3:06 PM CDT and filed on 3/28/2025
Case Name:              Trump et al v. Selzer et al
Case Number:            4:24-cv-00449-RGE-WPK
Filer:
Document Number: 42
Docket Text:
TEXT ORDER granting [41] Consent Motion for Extension of Deadlines for
Initial Motion Practice. Plaintiffs may file oppositions to the Motions to
Dismiss and Defendants may file an opposition to the Motion to Remand and
Motion for Attorney Fees on or before 4/1/2025. Plaintiffs may file a reply in
support of their Motion to Remand and Motion for Attorney Fees and
Defendants may file replies in support of their Motions to Dismiss on or
before 4/15/2025. If the Court denies the Motion to Remand, the parties will
submit a proposed Rule 16(b) and Rule 26(f) scheduling order and discovery
plan within 30 days of such denial of the Motion to Remand. Signed by
Magistrate Judge William P. Kelly on 3/28/2025. (rls)

4:24-cv-00449-RGE-WPK Notice has been electronically mailed to:

Edward A. Paltzik ecf@bochner.law, 3445884420@filings.docketbird.com,
edward@bochner.law

Joseph R. Quinn    joseph.quinn@faegredrinker.com  
Case 4:25-cv-00150-RGE-WPK              Document 24-6      Filed 06/06/25    Page 4 of 4



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Robert Richard Anderson       bobandersoniowan@gmail.com  

4:24-cv-00449-RGE-WPK Notice has been delivered by other means to:
